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 1                                                                          The Honorable Lauren King
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                           NO. 2:25-cv-00244-LK
10                              Plaintiffs,                 DECLARATION OF WILLIAM
                                                            MCGINTY IN SUPPORT OF
11      v.                                                  PLAINTIFFS’ MOTION FOR
                                                            CONTEMPT, SHORTENED TIME,
12   DONALD J. TRUMP, in his official capacity              AND ATTORNEYS’ FEES
     as President of the United States, et al.,
13                                                          NOTE ON MOTION CALENDAR:
                                Defendants.                 Friday, March 14, 2025
14
                                                            ORAL ARGUMENT REQUESTED
15

16            I, William McGinty, declare as follows:

17            1.     I am over the age of 18, competent to testify as to the matters herein, and make

18   this declaration based on my personal knowledge. I am one of the attorneys representing

19   Plaintiff State of Washington in the above-captioned matter.

20            2.     Attached as Exhibit 1 is a true and correct copy of Defendants’ Status Report,

21   Dkt. #70 and Dkt. #70-1 filed in PFLAG, Inc. v. Trump, No. 8:25-cv-00337-BAH (D. Md. 2025).

22            3.     Attached as Exhibit 2 is a true and correct copy of a social media post on X,

23   formerly known as Twitter, posted by the Department of Government Efficiency

24   (@DOGE)       on   February    28,   2025.   I   accessed   this    post   online    at   the   URL,

25   https://x.com/doge/status/1895645518912795109?s=51&t=rPzNVmthVrpJa_h18-NUJg                            on

26

     DECL. OF WILLIAM MCGINTY ISO PLS.’                 1               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
     MOT. FOR CONTEMPT, SHORTENED                                            800 Fifth Avenue, Suite 2000
     TIME, AND ATTORNEYS’ FEES                                                   Seattle, WA 98104
                                                                                    (206) 464-7744
     NO. 2:25-cv-00244-LK
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 1   March 5, 2025 and used the print feature on the website to save a PDF copy using a print to PDF
 2   function.
 3          4.      Attached as Exhibit 3 is a true and correct copy of email communications between
 4   Plaintiffs’ counsel and counsel for Defendants with dates between March 3, 2025, and March 6,
 5   2025. Included as an attachment to the initial email was a true and correct copy of a letter sent
 6   to Seattle Children’s Hospital terminating research dated February 28, 2025, and which appears
 7   as Exhibit A to the Declaration of Dr. Kym Ahrens. Included as an attachment to the email of
 8   March 6, 2025, from Colleen Melody was a true and correct copy of a second letter to Seattle
 9   Children’s Hospital terminating research dated March 4, 2025, and which appears as Exhibit B
10   to the Declaration of Dr. Kym Ahrens.
11          5.      Attached as Exhibit 4 is a true and correct copy of email communications between
12   Plaintiffs’ counsel and counsel for Defendants with dates between March 3, 2025, and March 6,
13   2025. It is largely duplicative of the email thread reproduced in Exhibit 3, except for the March
14   6, 2025, email from Vinita Andrapalliyal, which is at the top of the thread.
15          6.      Attached as Exhibit 5 is a true and correct copy of a news article published in
16   Nature on March 6, 2025, written by Max Kozloy and Smriti Mallapaty titled “Exclusive: NIH
17   to terminate hundreds of active research grants.” I accessed this article online at the URL
18   https://www.nature.com/articles/d41586-025-00703-1 on March 5, 2025 and used the print
19   feature on the website to save a PDF copy using a print to PDF function.
20          7.      Attached as Exhibit 6 is a true and correct copy of a chart received by
21   Physician Plaintiff 1 from a colleague. Physician Plaintiff 1 understands the chart to be a tool
22   NIH may be using to determine whether it will continue to fund grants in light of the Gender-
23   Ideology Order, Exec. Order No. 14,168, which the chart explicitly references.
24          8.      Attached as Exhibit 7 is a true and correct copy of the Memorandum and Order,
25   Dkt. #161, issued by United States District Court for the District of Rhode Island in New York
26   v. Trump, No. 1:25-cv-00039-JJM-PAS on March 6, 2025.

     DECL. OF WILLIAM MCGINTY ISO PLS.’               2              ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
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     TIME, AND ATTORNEYS’ FEES                                                Seattle, WA 98104
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 1          9.      Attached as Exhibit 8 is a true and correct copy of a letter from the Health
 2   Resources and Services Administration (HRSA) dated March 6, 2025, signed by Thomas J.
 3   Engels. It details efforts by HRSA to defund the “chemical and surgical mutilation” of children
 4   by “re-scoping, delaying, or potentially cancelling” grants made as part of its
 5   Children’s Hospitals Graduate Medical Education Payment Program. The website
 6   https://taggs.hhs.gov/Detail/CFDADetail?arg_CFDA_NUM=93255 includes information about
 7   this program including the institutions receiving such funds and the states where they are located.
 8   In fiscal year 2024, according to the above linked website, five institutions in the Plaintiff States
 9   received these funds including Seattle Children’s Hospital and Multicare Health System in
10   Washington, Gillette Children’s Specialty Healthcare and Children’s Health Care in Minnesota,
11   and Children’s Hospital Colorado in Colorado. Plaintiffs are still investigating to determine
12   which institutions in the Plaintiff States were specifically sent this letter by HRSA, but are aware
13   that it was at least emailed to Children’s Minnesota and Seattle Children’s Hospital.
14          10.     Attached as Exhibit 9 is a true and correct copy of a letter from the Substance
15   Abuse and Mental Health Services Administration dated March 6, 2025, and signed by
16   Christopher D. Carroll. Plaintiffs are still investigating which agencies and health care
17   institutions in the Plaintiff States received this letter but are aware that it was sent to the
18   Minnesota Department of Health.
19          I declare under penalty of perjury under the laws of the State of Washington and the
20   United States of America that the foregoing is true and correct.
21          DATED this 6th day of March 2025 at Olympia, Washington.
22
                                                    /s/ William McGinty
23                                                  WILLIAM MCGINTY, WSBA #41868
                                                    Assistant Attorney General
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